                                          2024 IL App (1st) 230330
                                                                                   SIXTH DIVISION
                                                                                   August 23, 2024
                                                No. 1-23-0330


                                             IN THE
                                   APPELLATE COURT OF ILLINOIS
                                         FIRST DISTRICT


     THE PEOPLE OF THE STATE OF                           )      Appeal from the Circuit Court
     ILLINOIS,                                            )      of Cook County.
                                                          )
            Plaintiff-Appellee,                           )
                                                          )
            v.                                            )      No. 01 CR 02288(03)
                                                          )
     XAVIER COX,                                          )      The Honorable
                                                          )      James Michael Obbish,
            Defendant-Appellant.                          )      Judge, presiding.



                     PRESIDING JUSTICE ODEN JOHNSON delivered the judgment of the court,
     with opinion.
                     Justices Hyman and Tailor concurred in the judgment and opinion.


                                                OPINION

¶1               Defendant Xavier Cox, age 28, 1 was convicted in 2005, after a bench trial, 2 of murder

       and aggravated kidnapping on an accountability theory. Defendant was sentenced to 21 years

       for felony murder, and an additional 20 years for personally discharging a firearm during the

       commission of the offense, for a total of 41 years. Defendant also received a concurrent 10-

       year sentence for the aggravated kidnapping. After sentencing, defendant filed and withdrew


                 1
               This was defendant’s age at the time of the offense.
                 2
               Although the trial court’s July 22, 2022, order, from which this appeal is taken, says that
       defendant was convicted “[f]ollowing a jury trial,” defendant had, in fact, a bench trial.
     No. 1-23-0330


        a direct appeal. This court later affirmed a second-stage dismissal of defendant’s first

        postconviction petition, where the petition failed to make a substantial showing that his trial

        counsel was ineffective for not filing a motion to suppress defendant’s allegedly coerced

        statement and for not communicating a plea offer. People v. Cox, 2012 IL App (1st) 102690-

        U, ¶¶ 1, 20, 26.

¶2              Defendant subsequently filed a pro se motion for leave to file a second postconviction

        petition, which the trial court denied. However, this court vacated the trial court’s order and

        remanded for further proceedings, since the trial court had not ruled on a then-pending pro se

        motion to add a second affidavit from another event witness. People v. Cox, 2021 IL App (1st)

        192252-U, ¶¶ 1, 16. On remand, the trial court again denied defendant leave to file his second

        petition.

¶3              In the present appeal, defendant challenges the trial court’s second denial of leave to

        file his second petition. Defendant’s one claim on appeal is that his second petition sets forth

        a colorable claim of actual innocence based on the affidavits of two event witnesses, namely,

        Dereck Brown and Leonard Kidd. For the following reasons, we affirm.

¶4                                         I. BACKGROUND

¶5              The 38-year-old victim, Pierre Mahone, was shot on September 29, 2000, as the result

        of a gang dispute. After defendant’s later arrest on December 22, 2000, defendant made a

        statement implicating himself in the crime. Defendant was then indicted, along with his

        codefendants Fontaine Lewis and Linnard Kidd, for murder and kidnapping.

¶6              Defendant and codefendants Kidd and Lewis had three simultaneous, although severed,

        bench trials before the same judge. In the simultaneous bench trials, the State delivered a




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     No. 1-23-0330


        collective opening statement regarding all three defendants. Another codefendant, Terrell

        Fenner, was acquitted in an earlier trial in front of the same trial judge. 3

¶7              Of the two affiants involved in this appeal, one was codefendant Leonard Kidd, who

        testified as part of his own simultaneous bench trial, and the other is Derek Brown, who was a

        witness in the simultaneous part of the trial, regarding both defendant and codefendant—now

        affiant—Kidd.

¶8              At the trial which began in August 2005, the State called several eyewitnesses who had

        witnessed the kidnapping. The State’s first witness, after the victim’s mother, was Larone Tate

        who testified that he (Tate) and the victim were both members of the Conservative Vice Lords

        and that the victim was the “chief of the Vice Lords.” On the day of the kidnapping, at

        approximately 2:20 p.m., Tate just happened to be outside, pitching pennies with Napoleon

        Smith, Derek Brown and others, when he noticed the victim drive up in his vehicle and seven

        or eight other vehicles pull up on either side of the street behind him. One vehicle pulled up in

        front of the victim’s vehicle, boxing him in. When the victim exited his vehicle, 15 or 20 men,

        armed with baseball bats and guns, exited their vehicles and approached the victim’s vehicle.

        Tate identified defendant as one of the approaching men. Defendant raised his gun in the air

        and told others to do the same. After one man slapped the victim in the head with a pistol,

        defendant yelled at the others “don’t whip him.” Napolean Smith, who was also outside, ran

        into a nearby house, and one of the men told Tate “to go in the house and get that n*** that

        ran into the house.” After entering the house, Tate watched from a front window, as the group

        hit the victim with bats and guns, but Tate did not see defendant at that point. As the victim




                3
                  This trial judge is not the same judge who considered defendant’s second postconviction
        petition either the first time or on remand.

                                                        3
       No. 1-23-0330


          was trying to escape, Tate heard a gunshot and heard someone in the house say, “they just shot

          him.” The group then grabbed the victim and threw him into the back seat of a Chevy Suburban

          that drove away. After the Suburban drove away, Tate saw defendant. Defendant “pulled to

          the side and got out” of his vehicle and shot his gun two or three times in the air and directed

          other vehicles off the block.

¶9               On cross, Tate testified that, when defendant first arrived on the scene and exited his

          vehicle, defendant said “tell them the X-Man did it.” Tate testified that he “wouldn’t have

          knew [sic] Xavier if he wouldn’t have said his name.” Referring to defendant, Tate explained:

          “He is the X-Man.” Although Tate had known defendant two or three years at that point, Tate

          would not have known it was defendant because of the chaos of “[p]eople jumping out with

          guns.” However, Tate testified: “[w]hen he came up close I knew who he was.” Tate did not

          see defendant hit the victim, and defendant was in a different car than the one that drove off

          with the victim.

¶ 10             The next witness was one of the two affiants involved in this appeal: Derek Brown.

          Brown testified that he had prior felony convictions for cannabis possession and that he

          currently had another case pending in the same courthouse for possession of a controlled

          substance. However, no deals or promises had been made in relation to that pending case in

          order to get him to testify. Brown testified that, on the day of the offense, at approximately

          2:20 p.m., he was outside with a group of guys including Smith, who Brown knew as “Buck,”

          and Tate. Like Tate, Brown testified that, after the victim pulled up in his vehicle, “[a] lot of

          cars” pulled up, blocking him in. When the victim exited his car, 15 or 20 men exited their cars

          with baseball bats and guns. When defendant exited his car, defendant pointed his gun and

          “told everybody to get” the victim. At different times, defendant was pointing his gun at


                                                       4
       No. 1-23-0330


          different people. Brown testified that Kidd, who Brown knew as “Bam,” hit the victim across

          the head with a gun. Other people also hit the victim. Brown backed up some porch steps, with

          his daughter, and then tried to run into the house, but the door was closed. Defendant told

          Brown not to move and told one of the other men “to get” Brown. The man pointed a gun at

          Brown, and Brown came back down the porch steps as directed. However, Brown then ran

          with his daughter in the opposite direction. When Brown stopped running, he called the police.

          Although Brown heard gunshots that day, he did not see who was shooting.

¶ 11             Brown testified that, on December 15, 2000, at 3:30 p.m. in the afternoon, he viewed a

          lineup and picked out codefendant Fontaine Lewis as the man who had pointed a gun at Brown

          and who had waved Brown down the stairs. On cross, Brown testified that, on October 9,

          approximately 10 days after the event, he went to the police station and talked with Detective

          Fitzsimmons and an assistant state’s attorney (ASA) who wrote out a statement that Brown

          signed. However, on the day of the offense, he did not speak with police. Brown testified that,

          prior to the kidnapping, he had known the victim for 15 or 20 years. At the time of the

          kidnapping, Smith was on the porch with Brown, and Smith ran up the steps just ahead of

          Brown, and it was Smith who shut the door on Brown.

¶ 12             On cross, Brown testified that he had previously testified in the trial of Fenner in

          September 2002. After being asked whether he testified that it was Fenner who had hit the

          victim in the head with a gun, Brown admitted that he could not remember. On redirect, Brown

          said yes when asked whether, in his October 9, 2000, statement to police, he (Brown) had

          stated that defendant had told the victim that the victim was coming with him. Brown

          acknowledged that he recognized his signature on the bottom of every page. However, when

          asked whether he remembered what defendant said when defendant pointed his gun, Brown


                                                      5
       No. 1-23-0330


          said he did not remember. Brown recalled testifying before the grand jury on December 27,

          2000, and Brown agreed that he had testified at that time that defendant had told the victim

          that the victim was coming with him.

¶ 13             Rudolfo Escalante testified that he currently lived in Mexico, that the state’s attorney’s

          office had paid for his round-trip plane ticket to Chicago, his hotel, and $100 in spending

          money. At 2:30 p.m. on September 29, 2020, he was living in Chicago and waiting for a bus,

          when he observed a black man hanging out of the open door of a Suburban, screaming “help

          me, help me,” while a passenger tried to grab him. After Escalante returned to the area later

          that day, a person told him that there was a dead man in the alley. Escalante went to the alley

          and recognized the dead man as the man who Escalante had seen earlier, hanging out of the

          Suburban.

¶ 14             Brandi Harrison testified that she observed the attack on the victim from her living

          room window. Harrison testified that the victim pulled up in his car, that other cars pulled up,

          blocking him in, and that “a lot of guys” exited the cars. At that point, Harrison had known the

          victim for eight years or more. When the other men exited their cars, the victim was still inside

          his car. Two men walked up to the victim’s driver’s side door, and one told him to get out.

          When the victim exited his car, one of the men hit the victim across the head with a gun.

          Harrison identified defendant as one of the two men who had walked up to the victim’s door,

          and she testified that he hit the victim across the head with his gun. After defendant hit the

          victim, “they” walked away, and some of the men started fighting the victim and the victim

          was fighting back. One of the men shot the victim in the leg, and he fell down. After the victim

          was shot, the other men lifted him into the Suburban and the Suburban drove off. Harrison did




                                                       6
       No. 1-23-0330


          not see defendant at this point. Harrison identified codefendant Lewis as one of the men who

          was out on the street that day, but she did not recall him “doing anything.”

¶ 15             On cross, Harrison testified that defendant approached the victim’s car, tapped the

          closed window with his gun, and told the victim to get out of his car. At the time of the offense,

          Harrison had known defendant “[m]aybe three years, maybe,” and not that well. Harrison

          recalled stating to the police on October 10, 2000, that defendant stated that he did not want

          the victim dead.

¶ 16             Smith testified that he had four felony drug convictions, that he was a member of the

          Conservative Vice Lords, and that the victim had been the head of their gang. At 2:20 p.m., on

          September 29, 2000, Smith happened to be on the porch pitching pennies with several people,

          including Tate and Brown, when the victim pulled up and eight or nine cars pulled up around

          him, blocking him in. Defendant and codefendant Kidd, whom Smith knew as Bam, exited a

          car. Smith had known defendant and Kidd five or six years, and he knew they were members

          of the New Breed gang. When the victim exited his car, codefendant Kidd hit the victim in the

          head with a pistol, and defendant was hollering that “X-Man did it.” Smith testified that X-

          Man was a nickname for defendant. Although defendant was pointing his gun “[a]t

          everybody,” he was not pointing it at the victim. About 15 or 20 men exited the cars, with guns

          and baseball bats, and they were whipping the victim. Codefendant Lewis came onto the porch

          where Smith was, pointed a gun at Smith, and told him not to move. However, Smith went into

          the house and called the police. Looking out a window, Smith could see men hitting the victim

          with a baseball bat and gun, trying to force the victim into a Suburban. Smith heard a gunshot

          and saw codefendant Lewis with a gun pointing at the victim’s feet. After the victim was in

          the Suburban, it drove off, and Smith stayed in the house until the police arrived. On cross,


                                                        7
       No. 1-23-0330


          Smith explained that, after Lewis told him not to move, Lewis looked away and that was when

          Smith ran into the house. On cross, Smith agreed that he had previously testified at Fenner’s

          trial that it was Fenner who had told him not to move.

¶ 17             The parties then entered several stipulations including one regarding the forensic

          pathologist who found 39 different points of injury and a close-range gunshot wound to the

          head. In addition, a gunshot appeared to enter the right calf, exit, and enter the left calf. After

          several continuances, defendant’s trial continued on November 9, 2005, when ASA Irene

          McNamara testified regarding defendant’s pretrial statement.

¶ 18             ASA McNamara testified that, after speaking with defendant for several hours on

          December 23, 2000, she handwrote out a statement that defendant read and signed. On a prior

          appeal, this court found that trial counsel was not ineffective for not filing a motion to suppress

          this statement, because “it is unlikely that a motion to suppress defendant’s statement would

          have been granted.” Cox, 2012 IL App (1st) 102690-U, ¶ 33.

¶ 19             In the statement, defendant stated that he was a 28-year-old high school graduate, with

          an electrician’s degree from Concordia College, and that he lived with his fiancée and his

          daughter. Defendant had been a member of the New Breed gang for two years, from 1996 to

          1998, and still had their motto tattooed on his chest. Codefendant Kidd, who defendant knew

          as Bam and as a member of the New Breed gang, started selling phencyclidine (PCP) in August

          2000 on a particular street corner that “belong[ed]” to the Vice Lords, a rival gang. Specifically,

          the corner was “run[ ]” by the victim, who was a five-star prince of the Vice Lords, with over

          25,000 people under his control. This corner is “an extremely hot spot to buy dope and there’s

          much money to be made.”




                                                        8
       No. 1-23-0330


¶ 20             Defendant stated that on September 29,2000, the day of the offense, at 10:30 a.m., the

          victim confronted codefendant Kidd and told Kidd that he could no longer sell PCP on that

          corner. Kidd was upset and called codefendant Lewis, who controlled the south and west sides

          of Chicago for the New Breed gang, with 5000 people under his control. At noon on September

          29, defendant was standing outside, when codefendant Lewis pulled up in a white Riviera and

          told defendant to come to a New Breeds meeting, which defendant understood not to be an

          optional request. About a dozen other cars were already following Lewis’s car, and defendant

          also followed in his blue Crown Victoria. They drove to a house, where Lewis retrieved guns

          from inside the house and gave them to about eight men, including defendant. Then they drove

          to a vacant lot, where Lewis and Kidd told everyone about the dispute between the victim and

          Kidd and that the plan was to kidnap the victim and hold him for $50,000 ransom.

¶ 21             Defendant stated that Lewis and Kidd explained that the victim was being set up by a

          Vice Lords member who would let them know where the victim was. For this information, the

          cooperating Vice Lord would receive half the ransom money. Lewis would receive $15,000,

          Kidd would receive $5000, and the rest would be split up among everyone else. Defendant

          thought he would receive $800 from the kidnapping. After Lewis was informed where the

          victim would be, Lewis told defendant that the cooperating Vice Lord would be in defendant’s

          car and that they should be the first car to approach the victim since the victim knew them and,

          thus, would not be scared away. In addition, Lewis told defendant “to act as a lookout and

          security,” which defendant understood to mean that he (defendant) would protect Lewis from

          the Vice Lords.

¶ 22             Defendant stated that, at 1:45 p.m., he and about 16 other cars drove near the location,

          that the victim arrived at 2 p.m., and that defendant’s car was the first car to pull up near the


                                                       9
       No. 1-23-0330


          victim’s car. Defendant and the cooperating Vice Lord walked up to the victim’s car and said,

          “what’s up,” and the victim replied, “what’s up.” Codefendants Lewis and Kidd approached

          the victim and began talking about “the dope spot.” Defendant pulled out his gun, to act as

          security, and he heard the victim say he would not give up his dope spot. Kidd then hit the

          victim in the head with a bat, and Lewis hit him in the head with the butt of his gun. Defendant

          told them not to kill the victim. Kidd and Lewis then forced the victim into a Suburban, which

          Kidd, Lewis, and others also entered before it drove off. After it drove off, defendant fired his

          gun in the air to make people, who were standing outside, go back in their houses. Defendant

          was then shot in the hand, but he does not know who shot him. Later defendant went to the

          hospital to treat his hand.

¶ 23              Defendant stated that, later that night, Lewis informed him that Lewis had shot the

          victim in the head because the victim would not sit still in the Suburban. Defendant told Lewis

          that he was going to call the police. After introducing defendant’s statement, the State rested,

          and defendant asked for a continuance, which was allowed. On December 22, 2005, defendant

          moved for a directed finding, which was denied, and defendant rested. The State presented a

          closing argument with respect to defendant alone, arguing that either the testimony of the event

          witnesses or defendant’s statement was sufficient to convict, but together they were proof

          beyond a reasonable doubt that defendant was guilty of aggravated kidnapping and, thus, guilty

          of murder on an accountability theory. The State argued:

                       “When the defendant combined with those people to conduct an unlawful act, that

                  being the aggravated kidnapping of [the victim], and that being a forcible felony, the

                  defendant was making himself accountable not just for that act, but for the subsequent

                  death of the victim, the murder of the victim by his co-conspirators.


                                                       10
       No. 1-23-0330


                       In this case it’s immaterial that this defendant, that there is no proof that this

                 defendant actually committed the actual murder.”

          Thus, the State conceded, in effect, that there was no proof that defendant committed the actual

          murder, thereby removing that issue from the case. The State argued: “If defendant did

          participate in the aggravated kidnapping, then he is guilty of the murder.” In response, the

          defense pointed out the discrepancies in the witnesses’ testimony about who did what, as well

          as the incentive that Vice Lord witnesses, such as Tate and Smith, had to implicate members

          of a rival gang. The defense also argued that there was no evidence to connect defendant to the

          murder. Defense counsel argued that “at best the State has made a case for his participating in

          the aggravated kidnapping; at best.” After listening to the evidence and argument, the trial

          court stated simply, without explanation, that it found that the State had proved all the charges

          beyond a reasonable doubt.

¶ 24             On January 30, 2006, the trial court denied defendant’s posttrial motion for a new trial

          and proceeded to sentencing. On his own behalf, defendant stated:

                 “At the time the thing was going on I was forced to. I didn’t know what was going on.

                 So I—I got shot in the process. I’m sorry about what happened. Just I didn’t know what

                 was going to happen. That’s my real statement.”

          The court then merged all the murder counts into count VI for felony murder, observed the

          range was 20 to 60 years, and sentenced defendant to 21 years for the murder. The court then

          added, to the 21-year sentence, a consecutive 20-year sentence for the personal discharge of a

          firearm during the felony murder, for a total of 41 years. For the aggravated kidnapping, the

          court sentenced him to a 10-year concurrent term. On March 7, 2006, the trial court denied

          defendant’s motion to reconsider sentencing. On August 17, 2006, this court allowed


                                                       11
       No. 1-23-0330


          defendant’s motion for leave to file a late notice of appeal, and the trial court subsequently

          appointed the state appellate defender to represent him. However, on September 19, 2006, this

          court entered an order stating that it granted defendant’s motion to dismiss his direct appeal.

¶ 25              The record before us also contains a motion filed, almost two years later, on March 16,

          2008, to dismiss his direct appeal. This 2008 motion is accompanied by a “Declaration” signed

          by defendant stating that his attorney explained to him the consequences of dismissing his

          appeal and that he realizes that he is foregoing “any direct appellate attack on my conviction

          or sentence.” The record contains a letter, dated November 30, 2007, from an assistant state

          appellate defender (ASAD) to defendant explaining that he runs “a significant risk of getting

          anywhere from an extra 26 years in prison up to as much as an extra 50 years in prison.” 4

          (Emphases in original.) The ASAD’s letter suggests that defendant “might be better off

          proceeding with a post-conviction petition” with another attorney who had recently contacted

          her about representing defendant. This court then entered a second order, on April 7, 2008,

          granting the motion and again dismissing the appeal, but with a different appellate case number

          (No. 1-06-2237) than our prior order dismissing his appeal (No. 1-06-0899).

¶ 26              On January 23, 2009, less than three years from his sentencing, and less than 10 months

          after the second dismissal of his direct appeal, the previously noted attorney filed defendant’s

          first postconviction petition. The petition alleged, among other things, that defendant’s trial

          counsel failed to communicate a plea offer of 18 years by the State and failed to litigate a filed

          motion to suppress defendant’s statement. The petition was advanced to the second stage on

          February 24, 2009, and counsel was appointed. The State filed a motion to dismiss on October


                  4
                   In a subsequent filing, on March 12, 2010, defendant’s counsel explained that “he was in a
          classic Catch -22 position.” The defense argued that, “had his appeal proceeded, [defendant] was
          advised that his sentence could have been raised if his appeal was denied, because his original
          sentence was below the required minimum.”

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       No. 1-23-0330


          5, 2009, which the trial court granted on August 29, 2010. This dismissal was affirmed by this

          court on October 26, 2012. Cox, 2012 IL App (1st) 102690-U.

¶ 27             Affirming the second-stage dismissal of his first postconviction petition, this court

          found that it was “unlikely that a motion to suppress defendant’s statement would have been

          granted.” Cox, 2012 IL App (1st) 102690-U, ¶ 33. Specifically, this court found that the

          “record rebuts defendant’s claims that he was not given his Miranda warnings [(see Miranda

          v. Arizona, 384 U.S. 436 (1966))], that his request for an attorney was denied and that his

          statement was the product of coercion and physical abuse.” Cox, 2012 IL App (1st) 102690-

          U, ¶ 33. Since the motion would not have been granted, this court found that trial counsel was

          not ineffective for deciding not to file it. Cox, 2012 IL App (1st) 102690-U, ¶ 33.

¶ 28             Approximately six years after the denial of his first petition, defendant filed the present

          pro se “petition for successive post conviction relief based on newly discovered evidence” on

          July 6, 2018. Defendant’s petition alleged that his prior statement was the result of physical

          and mental coercion and that the attached affidavit from Brown was newly discovered evidence

          supporting defendant’s claim of innocence.

¶ 29             In the attached affidavit, dated May 7, 2018, Brown averred:

                 “I, Derek Brown, declare that the information I’m coming forward with [i]s true and

                 accurate in substance and in fact.

                       2, I was tak[en] to the 11th District Police Station for questioning.

                       3. I was question[ed] by the detectives. They kept pressuring me to tell a different

                 story than what I I [sic] saw related to Xavier Cox. I kept telling I didn’t want to do

                 that.




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       No. 1-23-0330


                       4. I was also being pressured by my own gang. They told me that I had to implicate

                 Xavier Cox as the person who was giving the orders. When my gang made the

                 request[,] I knew I had to do it at that time.

                       5. What actually happen[ed] that September day of 2000 was Xavier Cox was not

                 giving orders[,] in fact I heard him say ‘what are ya’ll doing[’] when they started

                 attacking Pierre, he also wrapped his arms around him as if he was trying to shield him.

                       6. It’s been pretty tough on me over [the] last 18[ ] years knowing that my false

                 testimony contributed to an innocent man being sent away for basically the rest of his

                 life.

                       7. After discussing this with my family and friends I decided to come forward with

                 [the] truth.

                       8. So I was able to connect with the investigator working on Xavier’s case and I

                 told him my truth.

                       9. Finally, I am willing to testify in the court of law to what I laid out in my

                 affidavit.”

¶ 30             On November 13, 2018, defendant filed a motion to supplement his petition with

          codefendant Kidd’s affidavit which was attached. In the affidavit, dated October 9, 2018, Kidd

          averred:

                       “I, Linard Kidd, hereby declare under penalty of perjury that the following is true

                 and correct based upon my personal knowledge and that I am competent to testify

                 thereto if called upon as a witness.

                       I am coming forward because on September 29, 2000[,] Xavier Cox didn’t have

                 any knowledge of what was going on when ‘Pierre’ Elbert Malone was kidnapped and

                                                        14
       No. 1-23-0330


                  later shot to death. In fact my Co-defendant tried to stop the abduction that later resulted

                  in the death of ‘Pierre’ Elbert Malone. Mr. Xavier Cox is innocent of any crimes

                  connected with the events of September 29, 2000. Mr. Cox sh[ie]lded ‘Pierre’ and was

                  shot in doing so. Mr. Cox never had any weapon(s)[5] either. I stated in my trial to that

                  very fact. Mr. Xavier Cox had nothing to do with the abduction or death of ‘Pierre’

                  Elbert Malone.”

¶ 31              On April 26, 2019, the trial court denied defendant’s motion for leave to file, without

          considering defendant’s motion to supplement his petition with Kidd’s affidavit. On appeal,

          we vacated the trial court’s order and “remand[ed] for a ruling on defendant’s motion to

          supplement.” Cox, 2021 IL App (1st) 192252-U, ¶ 16. We stated: “In so holding, we express

          no opinion regarding the meris of defendant’s motions and proposed successive postconviction

          petition.” Cox, 2021 IL App (1st) 192252-U, ¶ 16.

¶ 32              On remand, the trial court 6 granted defendant’s motion to supplement and then denied

          defendant’s now supplemented motion for leave to file his second petition. 7 In an order entered

          July 22, 2022, the trial court did not find either Brown’s or Kidd’s affidavit to be newly

          discovered evidence of actual innocence.




                  5
                     The parentheses are in the original.
                  6
                     The trial judge, the Honorable James M. Obbish, is a different judge than the judge, the
          Honorable Henry R. Simmons Jr., who presided over the bench trials of defendant and his
          codefendants Kidd, Lewis, and Fenner.
                   7
                     In addition to his actual innocence claim, defendant’s second petition (1) reasserted his prior
          ineffectiveness claim, which had been previously addressed by this court in his prior appeal, and
          (2) asserted a Brady claim. See Brady v. Maryland, 373 U.S. 83 (1963). The trial court found neither
          claim persuasive, and neither claim is raised on this appeal. Thus, we do not include here the trial
          court’s discussion of them.

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       No. 1-23-0330


¶ 33             First, the trial court discussed Brown’s affidavit, noting that Brown’s affidavit indicated

          that defendant was present for the kidnapping and that Brown’s affidavit did not specifically

          recant his prior statements which had implicated defendant in the kidnapping.

¶ 34             The trial court noted that the sentencing court merged all the other murder counts into

          the felony murder count. With respect to felony murder, the trial court reasoned:

                       “Here, even if this Court were to accept Brown’s [affidavit] that he lied about Cox

                 ‘giving orders’ and that Cox actually tried to protect the victim, these facts are

                 immaterial of Cox’s innocence under the felony murder statute. *** Notably, Brown’s

                 affidavit does not recant his statements that Cox participated in the kidnapping, was

                 armed, and pointed his gun ‘everywhere.’ Nor does Brown’s affidavit rebut the rest of

                 the relevant evidence at trial, including Cox’s own inculpatory statement wherein he

                 admitted to agreeing to help kidnap the victim, participated in its planning, and

                 brandished a gun to act as ‘security’ during the kidnapping. Cox’s involvement in the

                 initial aggravated kidnapping was enough for the felony murder rule to attach, even

                 though his codefendant drove off with the victim and killed him, supposedly outside of

                 Cox’s presence and without his prior knowledge.”

          As a result of these facts, the trial court found that “Brown’s affidavit is irrelevant to the basis

          of [defendant’s] conviction,” since it relates only to whether defendant did, or did not, intend

          to murder the victim, “while not addressing the relevant issue” of whether defendant intended

          “to carry out the kidnapping that was the basis for his conviction.”

¶ 35             Further, the court noted that Brown witnessed only the abduction itself and, therefore,

          he could not speak to what defendant and his fellow codefendants planned or discussed prior

          to the abduction or what defendant did after the abduction, up to the moment when the victim


                                                        16
       No. 1-23-0330


          was killed. For all these reasons, the trial court found that “Brown’s affidavit did not undermine

          the court’s confidence in the finding of Cox’s guilt based upon his legal responsibility for the

          murder,” under the felony murder statute.

¶ 36             Second, turning to Kidd’s affidavit, the trial court stated that “Kidd’s trial predated

          Cox’s trial” and Kidd swore in his affidavit that he had testified at his own trial that defendant

          was unarmed. As a result, the trial court found that “Kidd was a readily discoverable and

          available source” at defendant’s trial. (The record before us establishes that, rather than one

          trial predating the other, defendant and codefendants Kidd and Lewis had three simultaneous,

          although severed, bench trials before the same judge. Another codefendant, Fenner, was

          acquitted in an earlier trial in front of the same judge, Judge Henry R. Simmons.)

¶ 37             The trial court noted that, even assuming that portions of Kidd’s affidavit were not

          included in Kidd’s trial testimony, Kidd’s affidavit did not aver that he would have come

          forward but for his own criminal exposure. Therefore, the trial court found Kidd to be a readily

          available and known source.

¶ 38             In addition, the trial court found that Kidd’s affidavit was not so conclusive as to change

          the result at trial. The trial court stated: “Kidd’s affidavit is a benign gesture inculpating no

          one, exculpating Cox, and providing no facts upon which a meaningful prosecution could be

          premised against the murderers of the victim—including Kidd.” Kidd’s affidavit gave no basis

          as to how he (Kidd) would know that defendant had “nothing to do with the abduction” as

          Kidd claimed, since Kidd did not aver that he (Kidd) had anything to do with the abduction

          himself. Finding the affidavits neither newly discovered nor material or conclusive, the trial

          court found that defendant’s second petition failed to set forth a colorable claim of actual

          innocence.


                                                       17
       No. 1-23-0330


¶ 39                On December 12, 2022, defendant filed a notice of appeal, stating that he had

          previously mailed it in August, but it was not filed. On December 27, 2022, this court entered

          an order stating that defendant’s notice of appeal was inadvertently docketed and that the

          appeal was stricken from the record. However, on March 13, 2022, this court granted

          defendant’s motion for leave to file a late notice of appeal.

¶ 40                                            II. ANALYSIS

¶ 41                On this appeal, defendant challenges the dismissal of his supplemented motion to file

          a second postconviction petition alleging his actual innocence. For the following reasons, we

          affirm.

¶ 42                                       A. Postconviction Petition

¶ 43                Defendant seeks relief under the Post-Conviction Hearing Act (Act) (725 ILCS 5/122-

          1 et seq. (West 2020)). The Act contemplates the filing of “[o]nly one petition *** without

          leave of the court.” 725 ILCS 5/122-1(f) (West 2020); People v. Sanders, 2016 IL 118123,

          ¶ 24. Any claim not in the original petition, or an amended version of it, is normally waived.

          725 ILCS 5/122-3 (West 2020); Sanders, 2016 IL 118123, ¶ 24. However, this bar against

          successive petitions is overcome if defendant can (1) satisfy the Pitsonbarger cause and

          prejudice test (see People v. Pitsonbarger, 205 Ill. 2d 444, 459 (2002); 725 ILCS 5/122-1(f)

          (West 2020)) or (2) show evidence of actual innocence. Sanders, 2016 IL 118123, ¶ 24. In the

          case at bar, defendant claims actual innocence.

¶ 44                The evidence supporting an actual-innocence claim must be (1) new, (2) material and

          noncumulative, and (3) of such a conclusive character that it would probably change the result

          on retrial. People v. Allen, 2015 IL 113135, ¶ 22; People v. Coleman, 2013 IL 113307, ¶ 96.

          “New means the evidence was discovered after trial and could not have been discovered earlier


                                                       18
       No. 1-23-0330


          through the exercise of due diligence.” Coleman, 2013 IL 113307, ¶ 96. “Material means the

          evidence is relevant and probative of the petitioner’s innocence.” Coleman, 2013 IL 113307,

          ¶ 96. To be material, the evidence “need not, standing alone, exonerate the defendant; rather,

          it must tend to ‘significantly advance’ his claim of actual innocence.” People v. Stoecker, 2014

          IL 115756, ¶ 33. “Noncumulative means the evidence adds to what the jury heard.” Coleman,

          2013 IL 113307, ¶ 96. Conclusive means that the additional evidence, “when considered along

          with the trial evidence, would probably lead to a different result.” Coleman, 2013 IL 113307,

          ¶ 96. “Probability, not certainty, is the key ***.” Coleman, 2013 IL 113307, ¶ 97; People v.

          Robinson, 2020 IL 123849, ¶ 48. A piece of new evidence is conclusive if it “would probably

          change the result on retrial, either by itself or in conjunction with” other new evidence also

          presented by the petitioner. Sanders, 2016 IL 118123, ¶ 53; see Coleman, 2013 IL 113307,

          ¶¶ 104-08 (considering together the statements of all the new witnesses presented by

          defendant). 8

¶ 45              “[L]eave of court to file a successive postconviction petition should be denied only

          where it is clear from a review of the petition and attached documentation that, as a matter of

          law, the petitioner cannot set forth a colorable claim of actual innocence.” Sanders, 2016 IL

          118123, ¶ 24. It is presumed that the new evidence will contradict the evidence of defendant’s

          guilt at trial; otherwise “the purpose of the Act would be rendered meaningless.” Robinson,

          2020 IL 123849, ¶ 57. “For new evidence to be positively rebutted” at the leave-to-file stage,

          “it must be clear from the trial record that no fact finder could ever accept the truth of that

          evidence, such as where” the trial record “affirmatively and incontestably demonstrate[s]” the


                  8
                    Our supreme court has “specifically rejected the total vindication or exoneration standard”
          set forth in People v. Savory, 309 Ill. App. 3d 408, 415 (1999). Robinson, 2020 IL 123849, ¶ 55
          (citing People v. Savory, 197 Ill. 2d 203, 213 (2001) (specifically rejecting the “complete vindication”
          standard set forth in the lower court’s opinion)).

                                                          19
       No. 1-23-0330


          new evidence “to be false or impossible.” Robinson, 2020 IL 123849, ¶ 60. As an example of

          what would rise to the level of false or impossible, the supreme court cited a case where the

          new evidence asserted that the victim had been shot only once, but the autopsy evidence at trial

          established that he had been shot multiple times. Robinson, 2020 IL 123849, ¶ 59 (citing

          Sanders, 2016 IL 118123, ¶ 48). Once leave to file a successive petition is granted, it is

          docketed for second-stage proceedings. See Sanders, 2016 IL 118123, ¶ 28.

¶ 46             When no evidentiary hearing is held, as in the case at bar, a reviewing court’s standard

          of review is de novo. Sanders, 2016 IL 118123, ¶ 31. De novo consideration means that we

          perform the same analysis that a trial judge would perform. People v. Carrasquillo, 2020 IL

          App (1st) 180534, ¶ 107.

¶ 47                                    B. Of a Conclusive Character

¶ 48             “[C]onclusiveness of the new evidence is the most important element of an actual

          innocence claim.” Sanders, 2016 IL 118123, ¶ 47; Robinson, 2020 IL 123849, ¶ 47. “We need

          not address whether petitioner’s new evidence could have been discovered earlier in the

          exercise of due diligence” or “whether it is material and not merely cumulative” if “we

          conclude that, even assuming these conditions have been satisfied, the evidence is not of such

          conclusive character that it would probably change the result on retrial.” Sanders, 2016 IL

          118123, ¶ 47. “Ultimately, the question is whether the evidence supporting the postconviction

          petition places the trial evidence in a different light and undermines the court’s confidence in

          the judgment of guilt.” Robinson, 2020 IL 123849, ¶ 48. In the case at bar, the trial court found

          that the affidavits submitted by defendant were not so conclusive, in large part, because they

          did not undercut his participation in the underlying felony.




                                                       20
       No. 1-23-0330


¶ 49              All of defendant’s murder convictions were merged into one count of felony murder.

          An individual commits felony murder, if while attempting or committing a forcible felony

          other than second degree murder, he or she or another participant causes a death. 720 ILCS

          5/9-1(a)(3) (West 2020). The purpose of the felony-murder statute is to deter individuals from

          committing forcible felonies by subjecting an offender to a first degree murder charge if

          another person is killed during that felony. People v. Pugh, 261 Ill. App. 3d 75, 77 (1994). In

          proving felony murder, the State does not have to prove an intent to kill, which distinguishes

          it from other forms of first degree murder where the State must prove either an intentional or

          knowing killing. People v. Davison, 236 Ill. 2d 232, 239-40 (2010).

¶ 50              In considering whether the new evidence would be conclusive, we must consider the

          evidence that was presented against the defendant at trial. Robinson, 2020 IL 123849, ¶ 47

          (“the conclusive character element refers to evidence that, when considered along with the trial

          evidence, would probably lead to a different result”). The primary evidence against defendant

          was his own statement and the testimony of event witnesses. Defendant previously alleged that

          his statement was coerced and that his trial counsel was ineffective for failing to move to

          suppress it, and that issue was resolved against him. In terms of persuasive value, obviously,

          defendant was telling the police what he hoped would free him and what he hoped they wanted

          to hear; no sane person ever said: “I want to spend the rest of my life in prison.”

¶ 51              As for the witnesses, it is odd that members of the victim’s gang, 9 were all hanging

          outside, innocently “pitching pennies,” at the moment when the offense occurred, and no one

          lifted a finger to help their chief. It is interesting that Smith, with four felony drug convictions,


                  9
                   Tate and Smith testified at trial that they were members of the victim’s gang, and Brown
          averred in his affidavit that he was in a gang and pressured by the gang to implicate defendant,
          thereby indicating that Brown was also in a rival gang to defendant and in the same gang as Tate,
          Smith, and the victim.

                                                         21
       No. 1-23-0330


          and Brown, with felony drug convictions and one pending case, decided to call the police, but

          we cannot help but notice that it is unusual that calling the police was the first form of

          assistance that gang members and drug dealers reached for. 10 And of course, they all named

          members of the opposing gang. It was uncontroverted that defendant did not put the victim in

          the car, that he did not drive away in the same car as the victim, and that defendant was shot at

          the scene. By all accounts, defendant was there at the start and afterward but curiously absent

          in the middle.

¶ 52              However, on the other hand, defendant stated at his sentencing that he did not have a

          choice, which is consistent with his pretrial statement that his participation was not option, and

          which is, by itself, a tacit admission of participation. All the witnesses placed him on the scene

          and participating, and Brown’s affidavit does not dispute that. Kidd asserts that defendant had

          “nothing to do” with the victim’s “abduction or death” but offers no details about how he

          knows that. An assertion is only as good as the witness’s basis for knowledge.

¶ 53              Kidd’s testimony at his own simultaneous trial is part of the record on this appeal.

          Kidd’s testimony was that Kidd went to the area where the offense occurred, because he was

          told that the victim wanted to talk to him. The victim thought that Kidd was “selling on his

          block.” On the stand, Kidd denied selling drugs at the time. Kidd drove over, parked his car,

          and walked over through a vacant lot. As Kidd walked up, he heard defendant say “ ‘No, man,

          it’s not like that,’ ” and he saw Lewis holding a gun on the victim. Kidd had no intent of

          participating in a kidnapping, and he was scared and just reacted to the events as they unfolded.




                  10
                    Kidd testified in his portion of the simultaneous trial that there was a hail of gunfire from
          the victim’s gang.

                                                           22
       No. 1-23-0330


¶ 54             Regarding defendant, Kidd testified that, on the day of the offense but before it

          occurred, defendant had told Kidd “he was fittin’ to go holler at” the victim. Kidd testified:

          “This is our neighborhood. We don’t have no problems with the Vice Lords. It’s not about

          gang-banging.” According to Kidd, the victim had “a street tax” on people who sold drugs in

          his territory. Kidd testified that, when he walked over to the area where the offense occurred,

          there were “a lot of cars,” and he saw the victim pull up. When the victim pulled up, defendant

          blew his horn and pulled up on the side of the victim’s car. Lewis jumped out of a car with a

          gun, and defendant also jumped out of a car with a gun. Kidd walked up to where Lewis and

          defendant were, and the victim grabbed Kidd. Kidd started punching the victim, and then a lot

          of people jumped on the victim. The victim was being pretty badly beaten and was hit with a

          bat. Kidd helped the victim into the Suburban, and the Suburban took off. Prior to his entering

          the Suburban, Kidd said there was a rain of gunfire, and he stated: “My whole thing to get in

          this van was to get out of gunfire.” According to Kidd, there was “a rain of gunfire, because

          [the victim’s] guys came out at this time. They came out shooting.” At some point, while the

          Suburban was driving, the victim tried to get out of the van, and Kidd grabbed the victim’s

          arm and pulled him back in, but Kidd did not know at that time what was going to happen to

          the victim. The Suburban pulled into an alley, and Lewis approached the Suburban and pulled

          the victim out. Lewis took the victim 12 or 13 steps away; Kidd heard a shot and saw the victim

          drop. Then Kidd entered another car that drove off.

¶ 55             First, Kidd’s prior testimony does not indicate how he would know that defendant had

          nothing to do with the abduction, as Kidd asserted in his affidavit. In other words, Kidd’s

          testimony does not fill in the vacuum left by his affidavit. Second, Kidd stated in his affidavit

          that defendant “never had any weapon(s) either. I stated in my trial to that very fact.” However,


                                                       23
       No. 1-23-0330


          at his trial, Kidd testified that defendant had a gun. Kidd was asked this question and gave this

          answer:

                 “Q. And [defendant] jumped out of a car. He had a gun too?

                 A. Yes, he had.”

          Thus, contrary to the assertion in Kidd’s affidavit that Kidd testified at his own trial that

          defendant did not have a weapon, Kidd did testify that defendant had a gun.

¶ 56             The key part of Brown’s affidavit is where he asserts: “Xavier Cox was not giving

          orders[,] in fact I heard him say ‘what are ya’ll doing[’] when they started attacking Pierre, he

          also wrapped his arms around him as if he was trying to shield him.” However, this line also

          establishes that defendant was on the scene and not simply a bystander. Brown says defendant

          was not giving orders and, at one point, tried to protect the victim, but the affidavit does not

          controvert the other parts of Brown’s prior testimony and does not eliminate the option that

          defendant was acting as security, as defendant himself stated in his pretrial statement. Even if

          we assume that the event details averred in Brown’s affidavit are true—that defendant was not

          the one giving orders and that he tried to physically protect the victim at one point—defendant

          could still have been a participant in the kidnapping scheme.

¶ 57             At a retrial, it is not simply Brown’s trial testimony that poses grist for cross

          examination. Brown provided a number of prior statements: (1) his October 9, 2000, statement

          to police; (2) his December 27, 2000, grand jury testimony; (3) his testimony at the September

          2002 trial of Terrell Fenner; and (4) his August 2005 testimony at the simultaneous trial of

          defendant and his codefendants.

¶ 58             For all the foregoing reasons, we find that “the evidence is not of such conclusive

          character that it would probably change the result on retrial.” Sanders, 2016 IL 118123, ¶ 47.


                                                       24
       No. 1-23-0330


          Kidd’s affidavit asserts no basis for knowledge, and the few facts asserted in Brown’s affidavit

          still leave intact, for the most part, his multiple prior incriminating statements.

¶ 59             If defendant’s present theory is that he lacked the intent to participate in the kidnapping

          because he was coerced, he has not argued that, and his two supporting affidavits say nothing

          about coercion of defendant. In addition, defendant argued at sentencing that he “was forced

          to” participate and that he “didn’t know what was going on,” thereby indicating that this was

          an argument that could have been made at trial.

¶ 60                                          III. CONCLUSION

¶ 61             For the reasons explained above, we find that the motion for leave to file defendant’s

          second postconviction petition, asserting an actual innocence claim based on the Brown and

          Kidd affidavits, was properly denied.

¶ 62             Affirmed.




                                                        25
No. 1-23-0330



                         People v. Cox, 2024 IL App (1st) 230330

Decision Under Review:      Appeal from the Circuit Court of Cook County, No. 01-CR-
                            02288(03); the Hon. James Michael Obbish, Judge, presiding.


Attorneys                   James E. Chadd, Douglas R. Hoff, and Richard Connor Morley, of
for                         State Appellate Defender’s Office, of Chicago, for appellant.
Appellant:


Attorneys                   Kimberly M. Foxx, State’s Attorney, of Chicago (Enrique
for                         Abraham, David H. Iskowich, and Retha Stotts, Assistant State’s
Appellee:                   Attorneys, of counsel), for the People.




                                           26
